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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                                  19-mj-348 (TNL)


 UNITED STATES OF AMERICA,

                       Plaintiff,              ORDER UNSEALING
                                               COMPLAINT, ARREST
       v.                                      WARRANT, AND AFFIDAVIT

 ROBERT VAUGHN EVANS,

                       Defendant.


      Upon motion of the United States, it is hereby ORDERED that the Complaint,

Arrest Warrant, and Affidavit of Special Agent Aaron C. Dunn in the above-captioned

matter, be unsealed.



Dated: August 13, 2019                      s/Hildy Bowbeer
                                            The Honorable Hildy Bowbeer
                                            United States Magistrate Judge
